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                                                            Exhibit 22 at 1
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                                                            Exhibit 22 at 2
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                                                            Exhibit 22 at 3
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                                                            Exhibit 22 at 4
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                                                            Exhibit 22 at 5
